                Case 2:13-cv-00489-RAJ Document 77 Filed 03/17/14 Page 1 of 1
AO 450 (Rev. 5/85) Judgment in a Civil Case ρ




                                                United States District Court
                                                   WESTERN DISTRICT OF WASHINGTON
                                                             AT SEATTLE


 ERIC ADERHOLD,

                           Plaintiff,                          JUDGMENT IN A CIVIL CASE

              v.                                               Case No.   C13-489RAJ

 CAR2GO N.A. LLC,

                           Defendant.




            Jury Verdict. This action came before the Court for a trial by jury. The issues have been
            tried and the jury has rendered its verdict.

 X          Decision by Court. This action came to consideration before the Court. The issues have
            been considered and a decision has been rendered.

THE COURT HAS ORDERED THAT

       The court enters judgment for Defendant in accordance with the court’s February 27,
2014 order and the parties’ stipulated motion to dismiss.


            Dated this 17th day of March, 2014.



                                                                     WILLIAM M. McCOOL
                                                                       Clerk


                                                         /s Consuelo Ledesma
                                                         Deputy Clerk
